Case 1:23-cv-08292-SHS-OTW   Document 169-2   Filed 07/22/24   Page 1 of 39




                 EXHIBIT 2
Case 1:23-cv-08292-SHS-OTW            Document 169-2     Filed 07/22/24   Page 2 of 39


                          UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF NEW YORK

                                                       Consolidated Cases:
AUTHORS GUILD, DAVID BALDACCI,
                                                       Case No. 1:23-cv-08292-SHS
MARY BLY, MICHAEL CONNELLY,
                                                       Case No. 1:23-cv-10211-SHS
SYLVIA DAY, JONATHAN FRANZEN,
JOHN GRISHAM, ELIN HILDERBRAND,                        Case No. 1:24-cv-00084-SHS
CHRISTINA BAKER KLINE, MAYA
SHANBHAG LANG, VICTOR LAVALLE,
GEORGE R.R. MARTIN, JODI PICOULT,
DOUGLAS PRESTON, ROXANA
ROBINSON, GEORGE SAUNDERS, SCOTT
TUROW, and RACHEL VAIL, individually
and on behalf of others similarly situated,
                            Plaintiffs,
                     v.
OPEN AI INC., OPENAI OPCO LLC,
OPENAI GP LLC, OPENAI, LLC, OPENAI
GLOBAL LLC, OAI CORPORATION LLC,
OPENAI HOLDINGS LLC, OPENAI
STARTUP FUND I LP, OPENAI STARTUP
FUND GP I LLC, OPENAI STARTUP FUND
MANAGEMENT LLC, and MICROSOFT
CORPORATION,
                       Defendants.

JONATHAN ALTER, KAI BIRD, TAYLOR
BRANCH, RICH COHEN, EUGENE
LINDEN, DANIEL OKRENT, JULIAN
SANCTON, HAMPTON SIDES, STACY
SCHIFF, JAMES SHAPIRO, JIA
TOLENTINO, and SIMON WINCHESTER, on
behalf of themselves and all others similarly
situated,
                            Plaintiffs,
                    v.
OPENAI, INC., OPENAI OPCO LLC,
OPENAI GP, LLC, OPENAI GLOBAL LLC,
OAI CORPORATION, LLC, OPENAI
HOLDINGS, LLC, OPENAI STARTUP FUND
I LP, OPENAI STARTUP FUND GP I LLC,
OPENAI STARTUP FUND MANAGEMENT
LLC, and MICROSOFT CORPORATION,

                            Defendants.
 Case 1:23-cv-08292-SHS-OTW              Document 169-2        Filed 07/22/24      Page 3 of 39



 NICHOLAS A. BASBANES and NICHOLAS
 NGAGOYEANES (professionally known as
 Nicholas Gage), individually and on behalf of
 all others similarly situated,
                               Plaintiffs,
                        v.
 MICROSOFT CORPORATION, OPENAI,
 INC., OPENAI GP, L.L.C., OPENAI
 HOLDINGS, LLC, OAI CORPORATION,
 LLC, OPENAI GLOBAL, LLC, OPENAI,
 L.L.C., and OPENAI OPCO, LLC,
                               Defendants.


DEFENDANT MICROSOFT CORPORATION’S RESPONSES AND OBJECTIONS TO
 PLAINTIFFS’ FIRST SET OF REQUESTS FOR PRODUCTION OF DOCUMENTS

       Pursuant to Federal Rules of Civil Procedure 26 and 34, Defendant Microsoft Corporation

(“Microsoft”) responds to Fiction and Nonfiction Plaintiffs’ First Set of Requests for Production

of Documents (“Requests”) as follows:

                                   GENERAL OBJECTIONS

       Microsoft’s responses are subject to the following objections to the “Definitions” and

“Instructions” provided with the Requests, each of which is hereby incorporated by reference into

Microsoft’s responses below. If Microsoft objects to a definition of a term and that term is used in

the definition of a subsequent term, Microsoft’s objections to the term used in the subsequent

definition are incorporated by reference therein.

       1.      Microsoft objects to the definition of the terms “Microsoft” and “You” on the

ground that they are overly broad, unduly burdensome, not proportional to the needs of the case,

seek information that is privileged or immune from discovery, and include persons or entities over

which Microsoft has no control and, therefore, Microsoft does not have possession, custody, or

control of information of any such persons or entities. Microsoft will interpret each of these terms

to mean Microsoft Corporation.



                                                    2
 Case 1:23-cv-08292-SHS-OTW                Document 169-2          Filed 07/22/24       Page 4 of 39




        2.       Microsoft objects to the definition of “OpenAI” on the ground that it is overly

broad, unduly burdensome, and disproportionate to the needs of the case to the extent it includes

entities other than the OpenAI entities listed as Defendants and persons other than the OpenAI

Defendants’ present and former officers, directors, and employees acting in that capacity. For

purposes of responding to the Requests, Microsoft will construe the term “OpenAI” to only include

the OpenAI Defendants and their present and former officers, directors, and employees, acting in

that capacity.

        3.       Microsoft objects to the definition of “Large Language Model” or “LLM” on the

ground that it is overly broad, unduly burdensome, and not proportional to the needs of the case to

the extent that it includes generative artificial intelligence models that are not identified in the First

Consolidated Class Action Complaint filed at Fiction Docket, No. 1:23-cv-08292-SHS, ECF No.

69 (the “Consolidated Complaint”). Microsoft will interpret this phrase to mean the specific

generative artificial intelligence models identified in the Consolidated Complaint: GPT-3, GPT-

3.5 and GPT-4.

        4.       Microsoft objects to the definition of “ChatGPT” on the ground that it is overly

broad, unduly burdensome, and not proportional to the needs of the case to the extent that it

includes any consumer-facing applications developed by OpenAI that are not specifically

identified in the Consolidated Complaint and to the extent that it incorporates the definition of

“LLM.” Microsoft will interpret this term to mean the specific consumer-facing applications

developed by OpenAI, and in which the underlying LLM includes those set forth above, identified

in the Consolidated Complaint: ChatGPT, ChatGPT Plus, and ChatGPT Enterprise.

        5.       Microsoft objects to each of the Requests as vague and ambiguous because many

of the Requests imply, suggest and/or assume that Microsoft trained or otherwise developed




                                                    3
 Case 1:23-cv-08292-SHS-OTW               Document 169-2       Filed 07/22/24     Page 5 of 39




OpenAI’s models. Microsoft did not train ChatGPT, does not possess the training datasets OpenAI

used to train ChatGPT, and is unaware of the contents of the training datasets used by OpenAI to

train ChatGPT. Microsoft will not search for or produce documents in response to Requests that

imply, suggest and/or assume that Microsoft trained or otherwise developed OpenAI’s models.

       6.      Microsoft objects to each Request to the extent it seeks information or documents

that are subject to the attorney-client privilege, work product doctrine, joint defense privilege,

common interest protection, or any other applicable privilege, immunity, or protection provided

by law, or that are trial preparation materials (collectively “Privileged Materials”). Privileged

Materials will not be produced.

       7.      Microsoft objects to all “Definitions and “Instructions” as overly broad, unduly

burdensome, and not proportional to the needs of the case because they seek to impose upon

Microsoft burdens in addition to or inconsistent with those set forth in the Federal Rules of Civil

Procedure; the Local Rules of this Court, especially Local Civil Rule 26.3, which provides for

uniform definitions in discovery requests; and any other applicable rules or laws. Microsoft will

interpret these Definitions and Instructions as not requiring Microsoft to perform unreasonable

searches, not requiring cumulative or duplicative discovery, and not requiring Microsoft to exceed

the obligations set forth in the applicable rules and laws.

       8.      Microsoft objects to the production of electronically stored information (“ESI”)

prior to entry of a Protective Order and Stipulation & Order Regarding Discovery of Electronically

Stored Information (“ESI Order”) in these Actions. Microsoft will produce ESI pursuant to the

terms of the ESI Order to be agreed by the parties and entered by the Court in these Actions.




                                                  4
 Case 1:23-cv-08292-SHS-OTW             Document 169-2        Filed 07/22/24    Page 6 of 39




                     RESPONSES TO REQUESTS FOR PRODUCTION

REQUEST FOR PRODUCTION NO. 1:

       DOCUMENTS sufficient to demonstrate that YOU are an investor in OPENAI, when you

became an investor in OPENAI, and YOUR percentage stake in OPENAI.

RESPONSE TO REQUEST FOR PRODUCTION NO. 1:

       Microsoft incorporates by reference and reasserts its General Objections to Plaintiffs’

“Definitions” set forth above.

       Subject to these objections, Microsoft responds as follows: Microsoft will conduct a

reasonable search and produce responsive, nonprivileged documents sufficient to demonstrate that

Microsoft is an investor in OpenAI, when Microsoft became an investor in OpenAI, and

Microsoft’s percentage stake in OpenAI. This production will be made on a rolling basis and will

be substantially complete by June 14, 2024.

REQUEST FOR PRODUCTION NO. 2:

       DOCUMENTS sufficient to identify the timeline of YOUR investments in OPENAI and

the internal DOCUMENTS YOU prepared or relied on in connection with each investment.

RESPONSE TO REQUEST FOR PRODUCTION NO. 2:

       Microsoft incorporates by reference and reasserts its General Objections to Plaintiffs’

“Definitions” set forth above.

       Subject to these objections, Microsoft responds as follows: Microsoft will conduct a

reasonable search and produce responsive, nonprivileged documents sufficient to identify the

timeline of Microsoft’s investments in OpenAI and the non-privileged internal documents

Microsoft prepared or relied on in connection with each investment. This production will be made

on a rolling basis and will be substantially complete by June 14, 2024.




                                                5
 Case 1:23-cv-08292-SHS-OTW             Document 169-2         Filed 07/22/24     Page 7 of 39




REQUEST FOR PRODUCTION NO. 3:

       DOCUMENTS and COMMUNICATIONS sufficient to identify DOCUMENTS

RELATING TO the allegations in the AMENDED COMPLAINTS that YOU have received or to

which YOU have access.

RESPONSE TO REQUEST FOR PRODUCTION NO. 3:

       Microsoft incorporates by reference and reasserts its General Objections to Plaintiffs’

“Definitions” set forth above set forth above. Microsoft objects to this Request for

“Communications” and states that any email communications will only be produced pursuant to

the custodial discovery provisions of the ESI Order to be entered in these Actions. Microsoft also

objects to this Request as vague and overbroad because it seeks documents that identify other

documents that relate to each and every thing referenced in the allegations of the amended

complaints, without regard to whether the thing referenced in the allegations is relevant to

Plaintiffs’ claims in these Actions, and because the request for documents that merely identify

other documents relating to allegations that are broad and potentially irrelevant or minimally

relevant in scope are disproportionate to the needs of the case. For these same reasons, Microsoft

does not understand the scope of this request.

       Given Microsoft’s lack of understanding of what this request seeks, and the potential

burden and lack of relevance of this Request, Microsoft will not currently be producing documents

responsive to this Request but is willing to meet and confer regarding the scope of this Request.

REQUEST FOR PRODUCTION NO. 4:

       DOCUMENTS sufficient to identify each person within MICROSOFT who participated in

or was consulted CONCERNING the creation, development, design or production of CHATGPT.




                                                 6
 Case 1:23-cv-08292-SHS-OTW               Document 169-2         Filed 07/22/24      Page 8 of 39




RESPONSE TO REQUEST FOR PRODUCTION NO. 4:

       Microsoft incorporates by reference and reasserts its General Objections to Plaintiffs’

“Definitions” set forth above. Microsoft objects to this request as overly broad and unduly

burdensome, and therefore not proportional to the needs of the case, because it seeks the

identification of each person within Microsoft who participated in or was consulted in any way

concerning the creation, development, design, or production of ChatGPT without limitation and

without regard to whether such persons were involved to a degree in which they may possess

information that is relevant to these Actions. Microsoft further objects to this Request to the extent

it assumes that Microsoft was involved with the creation, development, design, or production of

OpenAI’s models or applications identified in the Consolidated Complaint.

       Subject to these objections, Microsoft responds as follows: Microsoft will conduct a

reasonable search and produce responsive, nonprivileged documents, if any, sufficient to identify

each person within Microsoft who participated in or was consulted concerning the creation,

development, design or production of ChatGPT to the extent that such persons exist and are likely

to possess relevant information for the purposes of these Actions. This production will be made

on a rolling basis and will be substantially complete by June 14, 2024.

REQUEST FOR PRODUCTION NO. 5:

       DOCUMENTS sufficient to identify the title and qualifications of each person identified

pursuant to Request No. 4 above.

RESPONSE TO REQUEST FOR PRODUCTION NO. 5:

       Microsoft incorporates by reference and reasserts its General Objections to Plaintiffs’

“Definitions” set forth above. Microsoft objects to this Request to the extent is seeks, through the

request for “qualifications,” confidential and private information of Microsoft personnel that is




                                                  7
 Case 1:23-cv-08292-SHS-OTW              Document 169-2        Filed 07/22/24      Page 9 of 39




minimally relevant to any party’s claim or defense and therefore not proportional to the needs of

the case.

       Subject to these objections, Microsoft responds as follows: Microsoft will conduct a

reasonable search and produce responsive, nonprivileged documents that are sufficient to identify

the title and qualifications of persons identified in response to Request No. 4, if any. This

production will be made on a rolling basis and will be substantially complete by June 14, 2024.

REQUEST FOR PRODUCTION NO. 6:

       A copy of the most current curriculums vitae for each person identified in response to

Request No. 5 above.

RESPONSE TO REQUEST FOR PRODUCTION NO. 6:

       Microsoft incorporates by reference and reasserts its General Objections to Plaintiffs’

“Definitions” set forth above.

       Subject to these objections, Microsoft responds as follows: Microsoft will conduct a

reasonable search and produce a copy of the most current curriculums vitae for each person

identified in response to Request No. 5, if any, to the extent such documents exist. This production

will be made on a rolling basis and will be substantially complete by June 14, 2024.

REQUEST FOR PRODUCTION NO. 7:

       DOCUMENTS and COMMUNICATIONS sufficient to ascertain YOUR valuation of

YOUR investment in OPENAI, at annual intervals, from 2018 to the present.

RESPONSE TO REQUEST FOR PRODUCTION NO. 7:

       Microsoft incorporates by reference and reasserts its General Objections to Plaintiffs’

“Definitions” set forth above. Microsoft objects to this Request for “Communications” and states

that any email communications will only be produced pursuant to the custodial discovery




                                                 8
 Case 1:23-cv-08292-SHS-OTW             Document 169-2        Filed 07/22/24      Page 10 of 39




provisions of the ESI Order to be entered in these Actions. Microsoft also objects to this Request

as vague and ambiguous with respect to “Your valuation of Your investment” as used in this

Request. Microsoft will interpret this term to mean Microsoft’s data, analyses, calculations, or

otherwise sufficient information to show Microsoft’s financial assessments of its investments in

OpenAI.

       Subject to these objections, Microsoft responds as follows: Microsoft will conduct a

reasonable search and produce responsive, nonprivileged documents sufficient to show

Microsoft’s valuation of its investments in OpenAI at annual intervals, to the extent such

documents exist. This production will be made on a rolling basis and will be substantially complete

by June 14, 2024.

REQUEST FOR PRODUCTION NO. 8:

       DOCUMENTS that YOU, as of the date of these Requests, have already gathered or

collected to submit to any legislative or executive agency, committee, or other governmental entity

in the United States that CONCERN or RELATE TO the allegations in the AMENDED

COMPLAINTS, INCLUDING the written testimony and responses to questions for the record

from Brad Smith, the Vice Chair and President of Microsoft, to the US Senate Judiciary

Committee.

RESPONSE TO REQUEST FOR PRODUCTION NO. 8:

       Microsoft incorporates by reference and reasserts its General Objections to Plaintiffs’

“Definitions” set forth above. Microsoft objects to this request as vague and ambiguous with

respect to the phrase “gathered and collected to submit” and interprets this phrase as “submitted.”

Microsoft further objects to this Request as vague and overbroad because it seeks documents that

relate to each and every thing referenced in the allegations of the amended complaints and




                                                9
 Case 1:23-cv-08292-SHS-OTW              Document 169-2         Filed 07/22/24      Page 11 of 39




submitted to any government entity without regard to whether the thing referenced in the

allegations or the submission is relevant to Plaintiffs’ claims in these Actions.

       Subject to these objections, Microsoft responds as follows: Microsoft will conduct a

reasonable search and produce responsive, nonprivileged documents that Microsoft has submitted

to a governmental entity in the United States that pertain to LLMs, as defined in Microsoft’s

General Objections, and/or that constitute the written testimony and responses to questions for the

record from Brad Smith, the Vice Chair and President of Microsoft, to the United States Senate

Judiciary Committee. This production will be made on a rolling basis and will be substantially

complete by June 14, 2024.

REQUEST FOR PRODUCTION NO. 9:

       DOCUMENTS that YOU, as of the date these Requests, have already gathered or collected

in support of the DOCUMENTS referred to in Request No. 7, or on which the DOCUMENTS

referred to in Request No. 7 rely.

RESPONSE TO REQUEST FOR PRODUCTION NO. 9:

       Microsoft incorporates by reference and reasserts its General Objections to Plaintiffs’

“Definitions” set forth above. Microsoft further objects to this Request as vague and ambiguous

because it is unclear whether this Request is intended to Refer to Request No. 7 (which does not

seek “already-gathered material”) or Request No. 8 (which seeks “already-gathered material”). For

purposes of its response, Microsoft interprets this Request as referring to Request No. 8.

       Subject to these objections, Microsoft responds as follows: Microsoft will conduct a

reasonable search and produce responsive, nonprivileged documents that Microsoft has already

gathered or collected in support of documents submitted to a governmental entity in the United

States that pertain to the allegations in the Consolidated Complaint and that are relevant to




                                                 10
 Case 1:23-cv-08292-SHS-OTW              Document 169-2        Filed 07/22/24      Page 12 of 39




Plaintiffs’ claims in the Consolidated Complaint. This production will be made on a rolling basis

and will be substantially complete by June 14, 2024.

REQUEST FOR PRODUCTION NO. 10:

       DOCUMENTS sufficient to substantiate the statement made by MICROSOFT CEO Satya

Nadella that the “heavy lifting” for OPENAI’s LLM “training” was done by MICROSOFT

“compute infrastructure,” as detailed in paragraph 119 of the AMENDED COMPLAINT.

RESPONSE TO REQUEST FOR PRODUCTION NO. 10:

       Microsoft incorporates by reference and reasserts its General Objections to Plaintiffs’

“Definitions” set forth above. Microsoft objects to this Request as vague and ambiguous because

the Amended Complaint to which this Request refers to is not identified. Microsoft will interpret

this Request as referring to the Amended Complaint filed at Fiction Docket No. 40. Microsoft

further objects to this Request as a mischaracterization to the extent that it implies that Microsoft

admitted to training or otherwise developing OpenAI’s models. Microsoft did not train ChatGPT,

does not possess the training datasets OpenAI used to train ChatGPT, and is unaware of the contents

of the training datasets used by OpenAI to train ChatGPT.

       Subject to these objections, Microsoft responds as follows: Microsoft will conduct a

reasonable search and produce responsive, nonprivileged documents, if any, pertaining to

Microsoft’s development of the compute infrastructure used by OpenAI. This production will be

made on a rolling basis and will be substantially complete by June 14, 2024.

REQUEST FOR PRODUCTION NO. 11:

       DOCUMENTS sufficient to substantiate the statements made by YOUR CEO Satya

Nadella RELATED TO YOUR ownership of “significant rights” and “all IP rights” in OPENAI,




                                                 11
 Case 1:23-cv-08292-SHS-OTW              Document 169-2         Filed 07/22/24    Page 13 of 39




as detailed in paragraphs 53-54 of the AMENDED COMPLAINT.

RESPONSE TO REQUEST FOR PRODUCTION NO. 11:

       Microsoft incorporates by reference and reasserts its General Objections to Plaintiffs’

“Definitions” set forth above. Microsoft objects to this Request as vague and ambiguous because

the Amended Complaint to which this Request refers to is not identified. Microsoft will interpret

this Request as referring to the Amended Complaint filed at Fiction Docket No. 40.

       Subject to these objections, Microsoft responds as follows: Microsoft will conduct a

reasonable search and produce responsive, nonprivileged documents sufficient to show the extent

of Microsoft’s intellectual property rights in the OpenAI models or applications identified in the

Consolidated Complaint under the circumstances that Mr. Nadella was addressing at the time of

these statements. This production will be made on a rolling basis and will be substantially complete

by June 14, 2024.

REQUEST FOR PRODUCTION NO. 12:

       DOCUMENTS sufficient to show YOUR interest in any intellectual property developed or

practiced by OPENAI in connection with its LLM products.

RESPONSE TO REQUEST FOR PRODUCTION NO. 12:

       Microsoft incorporates by reference and reasserts its General Objections to Plaintiffs’

“Definitions” set forth above. Microsoft objects to this Request as vague and ambiguous with

respect to “Your interest” as used in this Request because it requires speculation as to the scope

and meaning of this Request. Microsoft interprets “interest” in this Request to mean “ownership

interest.” Microsoft objects to this Request as cumulative and duplicative of Request No. 11, and

incorporates its response to Request No. 11 as if fully set forth herein.

       Subject to these objections, Microsoft responds as follows: Microsoft will produce the




                                                 12
 Case 1:23-cv-08292-SHS-OTW             Document 169-2        Filed 07/22/24      Page 14 of 39




documents as stated in response to Request No. 11.

REQUEST FOR PRODUCTION NO. 13:

       DOCUMENTS RELATED TO the statement made by MICROSOFT CEO Satya Nadella

that Microsoft has “significant rights” in OpenAI and that “We [MICROSOFT] are below them

[OPENAI], above them, around them,” as detailed in paragraph 53 of the AMENDED

COMPLAINT.

RESPONSE TO REQUEST FOR PRODUCTION NO. 13:

       Microsoft incorporates by reference and reasserts its General Objections to Plaintiffs’

“Definitions” set forth above. Microsoft objects to this Request as vague and ambiguous on the

ground that the Amended Complaint to which this Request refers to is not identified. Microsoft

will interpret this Request as referring to the Amended Complaint filed at Fiction Docket No. 40.

Microsoft also objects to this Request as cumulative and duplicative of Request No. 11.

       Subject to these objections, Microsoft responds as follows: Microsoft will produce the

documents as stated in response to Request No. 11.

REQUEST FOR PRODUCTION NO. 14:

       DOCUMENTS RELATED TO the statement made by MICROSOFT CEO Satya Nadella

that “We [MICROSOFT] have all the IP rights and all the capability. If OpenAI disappeared

tomorrow, I don’t want any customer of ours to be worried about it quite honestly, because we

have all of the rights to continue the innovation. Not just to serve the product, but we can go and

just do what we were doing in partnership ourselves. We have the people, we have the compute,

we have the data, we have everything,” as detailed in paragraph 54 of the AMENDED

COMPLAINT.




                                                13
 Case 1:23-cv-08292-SHS-OTW             Document 169-2        Filed 07/22/24      Page 15 of 39




RESPONSE TO REQUEST FOR PRODUCTION NO. 14:

       Microsoft incorporates by reference and reasserts its General Objections to Plaintiffs’

“Definitions” set forth above. Microsoft objects to this Request as vague and ambiguous on the

ground that the Amended Complaint to which this Request refers to is not identified. Microsoft

will interpret this Request as referring to the Amended Complaint filed at Fiction Docket No. 40.

       Subject to these objections, Microsoft responds as follows: Microsoft will produce the

documents as stated in response to Request No. 11.

REQUEST FOR PRODUCTION NO. 15:

       DOCUMENTS and COMMUNICATIONS CONCERNING or RELATING TO

PLAINTIFFS or CLASS WORKS.

RESPONSE TO REQUEST FOR PRODUCTION NO. 15:

       Microsoft incorporates by reference and reasserts its General Objections to Plaintiffs’

“Definitions” set forth above. Microsoft objects to this Request for “Communications” and states

that any email communications will only be produced pursuant to the custodial discovery

provisions of the ESI Order to be entered in these Actions. Microsoft also objects to this Request

as vague and ambiguous with respect to the phrase “Class Works” because that term is defined in

the Consolidated Complaint as “[a]ny work of fiction, the text of which has been, or is being, used

by Defendants to ‘train’ one or more of Defendants’ large language models.” Microsoft did not

train OpenAI’s models, does not possess the training datasets OpenAI used to train its models, and

is unaware of the contents of the training datasets used by OpenAI to train its models. Because

Microsoft did not train OpenAI’s models, Microsoft lacks knowledge of what constitutes

documents and communications concerning or relating to “Class Works.” Microsoft further

objections to this Request as overly broad, unduly burdensome, and disproportionate to the needs




                                                14
 Case 1:23-cv-08292-SHS-OTW              Document 169-2         Filed 07/22/24      Page 16 of 39




of the case because it seeks all documents and communications concerning Plaintiffs or Class

Works without regard to relevance to any party’s claim or defense, and producing documents

concerning a Plaintiff or Class Work that has no relationship to the issues in these Actions (e.g. a

Microsoft account or purchase associated with a Plaintiff, or a reference to a Plaintiff or Class

Work but not related to LLMs) is disproportionate to the needs of the case and outside the scope

of relevance. To the extent documents and communications responsive to this Request are relevant

and not disproportionate, this Request is cumulative and duplicative of Request Nos. 17–21.

       Subject to these objections, Microsoft responds as follows: Microsoft will not currently be

searching for and producing documents responsive to this Request but is willing to meet and confer

regarding the scope of this Request.

REQUEST FOR PRODUCTION NO. 16:

       DOCUMENTS and COMMUNICATIONS CONCERNING or RELATING TO YOUR

right to supervise, direct, and/or control the training of CHATGPT.

RESPONSE TO REQUEST FOR PRODUCTION NO. 16:

       Microsoft incorporates by reference and reasserts its General Objections to Plaintiffs’

“Definitions” set forth above. Microsoft objects to this Request for “Communications” and states

that any email communications will only be produced pursuant to the custodial discovery

provisions of the ESI Order to be entered in these Actions. Microsoft also objects to this Request

to the extent it assumes that Microsoft trained or otherwise developed, or has any right to supervise,

direct, and/or control the training of, OpenAI’s models or applications identified in the

Consolidated Complaint; Microsoft did not train ChatGPT and does not have any right to

supervise, direct, and/or control such training.

       Subject to these objections, Microsoft responds as follows: Microsoft will conduct a




                                                   15
 Case 1:23-cv-08292-SHS-OTW            Document 169-2        Filed 07/22/24      Page 17 of 39




reasonable search and produce responsive, nonprivileged documents and communications, if any,

pertaining to Microsoft’s right, or lack thereof, to supervise, direct, or control the training of

ChatGPT. This production will be made on a rolling basis and will be substantially complete by

June 14, 2024.

REQUEST FOR PRODUCTION NO. 17:

       DOCUMENTS and COMMUNICATIONS CONCERNING or RELATING TO the use of

commercial works of fiction to train CHATGPT.

RESPONSE TO REQUEST FOR PRODUCTION NO. 17:

       Microsoft incorporates by reference and reasserts its General Objections to Plaintiffs’

“Definitions” set forth above. Microsoft objects to this Request for “Communications” and states

that any email communications will only be produced pursuant to the custodial discovery

provisions of the ESI Order to be entered in these Actions. Microsoft also objects to this Request

to the extent it assumes that Microsoft trained or otherwise developed OpenAI’s models or

applications identified in the Consolidated Complaint. Microsoft did not train ChatGPT, does not

possess the training datasets OpenAI used to train ChatGPT, and is unaware of the contents of the

training datasets used by OpenAI to train ChatGPT.

       Subject to these objections, Microsoft responds as follows: Microsoft states that based on

its reasonable investigation to date, it is not aware of any documents responsive to this Request

that are in Microsoft’s possession, custody, or control because Microsoft did not train ChatGPT.

REQUEST FOR PRODUCTION NO. 18:

       DOCUMENTS and COMMUNICATIONS CONCERNING or RELATING TO the use of

commercial works of nonfiction to train CHATGPT.




                                               16
 Case 1:23-cv-08292-SHS-OTW              Document 169-2        Filed 07/22/24      Page 18 of 39




RESPONSE TO REQUEST FOR PRODUCTION NO. 18:

       Microsoft incorporates by reference and reasserts its General Objections to Plaintiffs’

“Definitions” set forth above. Microsoft objects to this Request for “Communications” and states

that any email communications will only be produced pursuant to the custodial discovery

provisions of the ESI Order to be entered in these Actions. Microsoft also objects to this Request

to the extent it assumes that Microsoft trained or otherwise developed OpenAI’s models or

applications identified in the Consolidated Complaint. Microsoft did not train ChatGPT, does not

possess the training datasets OpenAI used to train ChatGPT, and is unaware of the contents of the

training datasets used by OpenAI to train ChatGPT.

       Subject to these objections, Microsoft responds as follows: Microsoft states that based on

its reasonable investigation to date, it is not aware of any documents responsive to this Request

that are in Microsoft’s possession, custody, or control because Microsoft did not train ChatGPT.

REQUEST FOR PRODUCTION NO. 19:

       DOCUMENTS sufficient to determine any manner in which any published works of fiction

or nonfiction, in whole or in part, in any form, format, or language, reside in, are otherwise stored

by CHATGPT.

RESPONSE TO REQUEST FOR PRODUCTION NO. 19:

       Microsoft incorporates by reference and reasserts its General Objections to Plaintiffs’

“Definitions” set forth above. Microsoft objects to this Request to the extent it assumes that

Microsoft trained or otherwise developed OpenAI’s models or applications identified in the

Consolidated Complaint. Microsoft did not train ChatGPT, does not possess the training datasets

OpenAI used to train ChatGPT, and is unaware of the contents of the training datasets used by

OpenAI to train ChatGPT. Microsoft also objects to this Request as vague and ambiguous with




                                                 17
 Case 1:23-cv-08292-SHS-OTW              Document 169-2        Filed 07/22/24     Page 19 of 39




respect to “published works of fiction or nonfiction, in whole or in part, in any form, format, or

language” as used in this Request on the ground that it requires speculation as to the scope and

meaning of this Request. Microsoft further objects to this Request as seeking information that is

irrelevant and not proportional to the needs of the case because it seeks information pertaining to

works that are outside of the scope of the Class Definitions as defined in the Consolidated

Complaint, including works in which no copyright was registered with the United States Copyright

Office, and as such are not relevant to any party’s claim or defense.

       Subject to these objections, Microsoft responds as follows: Microsoft will conduct a

reasonable search and produce responsive, nonprivileged documents and communications, if any,

pertaining to the manner in which Fiction Class Works, Eligible Fiction Copyrights, Nonfiction

Class Works, and Eligible Nonfiction Copyrights, as defined in paragraphs 394, 395, 397, and 398

of the Consolidated Complaint, reside in or are otherwise stored by ChatGPT, to the extent such

documents exist and are in Microsoft’s possession, custody, or control. This production will be made

on a rolling basis and will be substantially complete by June 14, 2024.

REQUEST FOR PRODUCTION NO. 20:

       DOCUMENTS sufficient to determine any manner in which CHATGPT can reference or

access any published works of fiction or nonfiction, in whole or in part, in any form, format, or

language.

RESPONSE TO REQUEST FOR PRODUCTION NO. 20:

       Microsoft incorporates by reference and reasserts its General Objections to Plaintiffs’

“Definitions” set forth above. Microsoft objects to this Request to the extent it assumes that

Microsoft trained or otherwise developed OpenAI’s models or applications identified in the

Consolidated Complaint. Microsoft did not train ChatGPT, does not possess the training datasets




                                                 18
 Case 1:23-cv-08292-SHS-OTW               Document 169-2       Filed 07/22/24     Page 20 of 39




OpenAI used to train ChatGPT, and is unaware of the contents of the training datasets used by

OpenAI to train ChatGPT. Microsoft also objects to this Request as vague and ambiguous with

respect to “published works of fiction or nonfiction, in whole or in part, in any form, format, or

language” as used in this Request on the ground that it requires speculation as to the scope and

meaning of this Request. Microsoft further objects to this Request as seeking information that is

irrelevant and not proportional to the needs of the case because it seeks information pertaining to

works that are outside of the scope of the Class Definitions as defined in the Consolidated

Complaint, including works in which no copyright was registered with the United States Copyright

Office, and as such are not relevant to any party’s claim or defense.

       Subject to these objections, Microsoft responds as follows: Microsoft will conduct a

reasonable search and produce responsive, nonprivileged documents, if any, pertaining to the

manner in which ChatGPT can reference or access Fiction Class Works, Eligible Fiction

Copyrights, Nonfiction Class Works, and Eligible Nonfiction Copyrights, as defined in paragraphs

394, 395, 397, and 398 of the Consolidated Complaint, to the extent such documents exist and are

in Microsoft’s possession, custody, or control. This production will be made on a rolling basis and

will be substantially complete by June 14, 2024.

REQUEST FOR PRODUCTION NO. 21:

       DOCUMENTS sufficient to determine any manner in which any LLM operated by

OPENAI has referenced or accessed any published works of fiction or nonfiction, in whole or in

part, in any form, format, or language.

RESPONSE TO REQUEST FOR PRODUCTION NO. 21:

       Microsoft incorporates by reference and reasserts its General Objections to Plaintiffs’

“Definitions” set forth above. Microsoft objects to this Request to the extent it assumes that




                                                 19
 Case 1:23-cv-08292-SHS-OTW             Document 169-2         Filed 07/22/24      Page 21 of 39




Microsoft trained or otherwise developed OpenAI’s models or applications identified in the

Consolidated Complaint or assumes Microsoft possesses information about “any LLM operated

by OPENAI.” Microsoft also objects to this Request as vague and ambiguous with respect to

“published works of fiction or nonfiction, in whole or in part, in any form, format, or language” as

used in this Request on the ground that it requires speculation as to the scope and meaning of this

Request. Microsoft further objects to this Request as seeking information that is irrelevant and not

proportional to the needs of the case because it seeks information pertaining to OpenAI LLMs that

are not identified in the Consolidated Complaint and works that are outside of the scope of the

Class Definitions as defined in the Consolidated Complaint, including works in which no copyright

was registered with the United States Copyright Office, and as such are not relevant to any party’s

claim or defense.

       Subject to these objections, Microsoft responds as follows: Microsoft states that based on

its reasonable investigation to date, it is not aware of any documents responsive to this Request

that are in Microsoft’s possession, custody, or control because Microsoft did not train ChatGPT or

any OpenAI LLM.

REQUEST FOR PRODUCTION NO. 22:

       DOCUMENTS           and      COMMUNICATIONS              sufficient    to    identify    the

ELECTRONICALLY STORED INFORMATION through which YOU accessed commercial

works of fiction and/or nonfiction, INCLUDING FICTION CLASS WORKS AND

NONFICTION CLASS WORKS, to train CHATGPT.

RESPONSE TO REQUEST FOR PRODUCTION NO. 22:

       Microsoft incorporates by reference and reasserts its General Objections to Plaintiffs’

“Definitions” set forth above. Microsoft objects to this Request for “Communications” and states




                                                20
 Case 1:23-cv-08292-SHS-OTW            Document 169-2        Filed 07/22/24      Page 22 of 39




that any email communications will only be produced pursuant to the custodial discovery

provisions of the ESI Order to be entered in these Actions. Microsoft also objects to this Request

to the extent it assumes that Microsoft trained or otherwise developed OpenAI’s models or

applications identified in the Consolidated Complaint. Microsoft did not train ChatGPT, does not

possess the training datasets OpenAI used to train ChatGPT, and is unaware of the contents of the

training datasets used by OpenAI to train ChatGPT.

       Subject to these objections, Microsoft responds as follows: Microsoft states that based on

its reasonable investigation to date, it is not aware of any documents responsive to this Request

that are in Microsoft’s possession, custody, or control because Microsoft did not train ChatGPT or

any OpenAI LLM.

REQUEST FOR PRODUCTION NO. 23:

       DOCUMENTS and COMMUNICATIONS reflecting or discussing how YOU or OPENAI

accessed any commercial works of fiction or nonfiction, INCLUDING FICTION CLASS WORKS

AND NONFICTION CLASS WORKS, used to train CHATGPT.

RESPONSE TO REQUEST FOR PRODUCTION NO. 23:

       Microsoft incorporates by reference and reasserts its General Objections to Plaintiffs’

“Definitions” set forth above. Microsoft objects to this Request for “Communications” and states

that any email communications will only be produced pursuant to the custodial discovery

provisions of the ESI Order to be entered in these Actions. Microsoft also objects to this Request

to the extent it assumes that Microsoft trained or otherwise developed OpenAI’s models or

applications identified in the Consolidated Complaint. Microsoft did not train ChatGPT, does not

possess the training datasets OpenAI used to train ChatGPT, and is unaware of the contents of the

training datasets used by OpenAI to train ChatGPT. Microsoft objects to this Request as vague and




                                               21
 Case 1:23-cv-08292-SHS-OTW              Document 169-2        Filed 07/22/24      Page 23 of 39




ambiguous with respect to “commercial works of fiction or nonfiction” as used in this Request on

the ground that it requires speculation as to the scope and meaning of this Request. Microsoft

objects to this Request as seeking information that is irrelevant and not proportional to the needs

of the case because it seeks information pertaining to works of fiction that are outside of the scope

of the Class Definitions as defined in the Consolidated Complaint, including works in which no

copyright was registered with the United States Copyright Office, and as such are not relevant to

any party’s claim or defense.

       Subject to these objections, Microsoft responds as follows: Microsoft states that based on

its reasonable investigation to date, it is not aware of any documents responsive to this Request

that are in Microsoft’s possession, custody, or control because Microsoft did not train ChatGPT or

any OpenAI LLM.

REQUEST FOR PRODUCTION NO. 24:

       DOCUMENTS sufficient to identify all policies, procedures, or practices YOU or OPENAI

had in place at any time to ensure that training CHATGPT did not infringe on or otherwise violate

another party’s intellectual property rights.

RESPONSE TO REQUEST FOR PRODUCTION NO. 24:

       Microsoft incorporates by reference and reasserts its General Objections to Plaintiffs’

“Definitions” set forth above. Microsoft objects to this Request to the extent it assumes that

Microsoft trained or otherwise developed OpenAI’s models or applications identified in the

Consolidated Complaint, or had control over how such training was conducted. Microsoft did not

train ChatGPT, does not possess the training datasets OpenAI used to train ChatGPT, and is unaware

of the contents of the training datasets used by OpenAI to train ChatGPT. Microsoft objects to this

Request’s temporal scope of “any time” as overly broad and not proportional to the needs of the




                                                 22
 Case 1:23-cv-08292-SHS-OTW              Document 169-2         Filed 07/22/24   Page 24 of 39




case, and will respond to this Request with respect to documents from 2018 to present.

       Subject to these objections, Microsoft responds as follows: Microsoft states that based on

its reasonable investigation to date, it is not aware of any documents responsive to this Request

that are in Microsoft’s possession, custody, or control because Microsoft did not train ChatGPT or

any OpenAI LLM.

REQUEST FOR PRODUCTION NO. 25:

       DOCUMENTS and COMMUNICATIONS sufficient to identify any rights clearance

efforts undertaken RELATED TO the material used to train CHATGPT including, but not limited

to, copyright searches and license requests.

RESPONSE TO REQUEST FOR PRODUCTION NO. 25:

       Microsoft incorporates by reference and reasserts its General Objections to Plaintiffs’

“Definitions” set forth above. Microsoft objects to this Request for “Communications” and states

that any email communications will only be produced pursuant to the custodial discovery

provisions of the ESI Order to be entered in these Actions. Microsoft also objects to this Request

to the extent it assumes that Microsoft trained or otherwise developed OpenAI’s models or

applications identified in the Consolidated Complaint, or had control over how such training was

conducted. Microsoft did not train ChatGPT, does not possess the training datasets OpenAI used to

train ChatGPT, and is unaware of the contents of the training datasets used by OpenAI to train

ChatGPT. Microsoft also objects to this Request as cumulative and duplicative of Request No. 24,

and incorporates its response to that Request as if fully set forth herein.

       Subject to these objections, Microsoft responds as follows: Microsoft states that based on

its reasonable investigation to date, it is not aware of any documents responsive to this Request

that are in Microsoft’s possession, custody, or control because Microsoft did not train ChatGPT or




                                                  23
 Case 1:23-cv-08292-SHS-OTW             Document 169-2        Filed 07/22/24      Page 25 of 39




any OpenAI LLM.

REQUEST FOR PRODUCTION NO. 26:

       DOCUMENTS and COMMUNICATIONS between YOU and OPENAI related to the

contents of the training dataset used to train CHATGPT.

RESPONSE TO REQUEST FOR PRODUCTION NO. 26:

       Microsoft incorporates by reference and reasserts its General Objections to Plaintiffs’

“Definitions” set forth above. Microsoft objects to this Request for “Communications” and states

that any email communications will only be produced pursuant to the custodial discovery

provisions of the ESI Order to be entered in these Actions. Microsoft also objects to this Request

to the extent it assumes that Microsoft trained or otherwise developed OpenAI’s models or

applications identified in the Amended Complaints. Microsoft did not train ChatGPT, does not

possess the training datasets OpenAI used to train ChatGPT, and is unaware of the contents of the

training datasets used by OpenAI to train ChatGPT.

       Subject to these objections, Microsoft responds as follows: Microsoft will conduct a

reasonable search and produce responsive, nonprivileged communications between Microsoft and

OpenAI pertaining to the contents of the training datasets identified in the Consolidated Complaint

to the extent such documents or communications exist and are in Microsoft’s possession, custody,

or control. This production will be made on a rolling basis and will be substantially complete by

June 14, 2024.

REQUEST FOR PRODUCTION NO. 27

       DOCUMENTS and COMMUNICATIONS between YOU and OPENAI related to the

process of collecting, maintaining, and using data to train CHATGPT, including the number of

reproductions made of training data in the course of training CHATGPT.




                                                24
 Case 1:23-cv-08292-SHS-OTW            Document 169-2        Filed 07/22/24      Page 26 of 39




RESPONSE TO REQUEST FOR PRODUCTION NO. 27:

       Microsoft incorporates by reference and reasserts its General Objections to Plaintiffs’

“Definitions” set forth above. Microsoft objects to this Request for “Communications” and states

that any email communications will only be produced pursuant to the custodial discovery

provisions of the ESI Order to be entered in these Actions. Microsoft also objects to this Request

to the extent it assumes that Microsoft trained or otherwise developed OpenAI’s models or

applications identified in the Amended Complaints. Microsoft did not train ChatGPT, does not

possess the training datasets OpenAI used to train ChatGPT, and is unaware of the contents of the

training datasets used by OpenAI to train ChatGPT.

       Subject to these objections, Microsoft responds as follows: Microsoft states that based on

its reasonable investigation to date, it is not aware of any documents responsive to this Request

that are in Microsoft’s possession, custody, or control because Microsoft did not train ChatGPT or

any OpenAI LLM.

REQUEST FOR PRODUCTION NO. 28:

       DOCUMENTS CONCERNING or RELATING TO any complaints YOU have received

regarding YOUR use of potentially copyrighted material in training CHATGPT.

RESPONSE TO REQUEST FOR PRODUCTION NO. 28:

       Microsoft incorporates by reference and reasserts its General Objections to Plaintiffs’

“Definitions” set forth above. Microsoft objects to this Request to the extent it assumes that

Microsoft trained or otherwise developed OpenAI’s models or applications identified in the

Amended Complaints. Microsoft did not train ChatGPT, does not possess the training datasets

OpenAI used to train ChatGPT, and is unaware of the contents of the training datasets used by

OpenAI to train ChatGPT.




                                               25
 Case 1:23-cv-08292-SHS-OTW             Document 169-2         Filed 07/22/24     Page 27 of 39




       Subject to these objections, Microsoft responds as follows: Microsoft states that based on

its reasonable investigation to date, it is not aware of any documents responsive to this Request

that are in Microsoft’s possession, custody, or control because Microsoft did not train ChatGPT.

REQUEST FOR PRODUCTION NO. 29

       DOCUMENTS CONCERNING or RELATING TO YOUR policies or procedures

CONCERNING or RELATING TO receiving, processing, or responding to complaints regarding

YOUR use of potentially copyrighted material in training CHATGPT.

RESPONSE TO REQUEST FOR PRODUCTION NO. 29:

       Microsoft incorporates by reference and reasserts its General Objections to Plaintiffs’

“Definitions” set forth above. Microsoft objects to this Request to the extent it assumes that

Microsoft trained or otherwise developed OpenAI’s models or applications identified in the

Amended Complaints. Microsoft did not train ChatGPT, does not possess the training datasets

OpenAI used to train ChatGPT, and is unaware of the contents of the training datasets used by

OpenAI to train ChatGPT. Microsoft objects to this Request as duplicative of Request No. 28.

       Subject to these objections, Microsoft responds as follows: Microsoft states that based on

its reasonable investigation to date, it is not aware of any documents responsive to this Request as

worded that are in Microsoft’s possession, custody, or control because Microsoft did not train

ChatGPT.

REQUEST FOR PRODUCTION NO. 30:

       DOCUMENTS and COMMUNICATIONS reflecting or discussing any instances, or

alleged instances, in which CHATGPT directly reproduced potentially copyrighted material.

RESPONSE TO REQUEST FOR PRODUCTION NO. 30:

       Microsoft incorporates by reference and reasserts its General Objections to Plaintiffs’




                                                26
 Case 1:23-cv-08292-SHS-OTW             Document 169-2        Filed 07/22/24      Page 28 of 39




“Definitions” set forth above. Microsoft objects to this Request for “Communications” and states

that any email communications will only be produced pursuant to the custodial discovery

provisions of the ESI Order to be entered in these Actions. Microsoft also objects to this Request

as overly broad and unduly burdensome, and therefore not proportional to the needs of the case,

because it seeks information without regard to whether such documents or communications pertain

to the actual or potential copyright status of material produced by ChatGPT.

       Subject to these objections, Microsoft responds as follows: Microsoft will conduct a

reasonable search and produce responsive, nonprivileged documents and communications

reflecting or discussing any instances, or alleged instances, in which ChatGPT reproduced

potentially copyrighted material and in which any individual documented or communicated that

the material was potentially copyrighted, to the extent such documents exist and are in Microsoft’s

possession, custody, or control. This production will be made on a rolling basis and will be

substantially complete by June 14, 2024.

REQUEST FOR PRODUCTION NO. 31:

       DOCUMENTS and COMMUNICATIONS reflecting or discussing your response to any

instances, or alleged instances, in which CHATGPT directly reproduced potentially copyrighted

material.

RESPONSE TO REQUEST FOR PRODUCTION NO. 31:

       Microsoft incorporates by reference and reasserts its General Objections to Plaintiffs’

“Definitions” set forth above. Microsoft objects to this Request for “Communications” and states

that any email communications will only be produced pursuant to the custodial discovery

provisions of the ESI Order to be entered in these Actions. Microsoft also objects to this Request

as overly broad and unduly burdensome, and therefore not proportional to the needs of the case




                                                27
 Case 1:23-cv-08292-SHS-OTW               Document 169-2      Filed 07/22/24      Page 29 of 39




because that it seeks information without regard to whether such documents or communications

pertain to the actual or potential copyright status of material produced by ChatGPT. Microsoft also

objects to this Request as cumulative and duplicative of Request No. 30 and incorporates its

response to that Request as if fully set forth herein.

       Subject to these objections, Microsoft responds as follows: Microsoft will conduct a

reasonable search and produce responsive, nonprivileged communications, if any, reflecting or

discussing Microsoft’s response to any alleged instances in which ChatGPT directly reproduced

potentially copyrighted material and in which any individual documented or communicated that

the material was potentially copyrighted, to the extent such documents exist. This production will

be made on a rolling basis and will be substantially complete by June 14, 2024.

REQUEST FOR PRODUCTION NO. 32

       DOCUMENTS CONCERNING or RELATING TO any responses YOU have made to the

complaints or instances described in Request Nos. 22 through 24.

RESPONSE TO REQUEST FOR PRODUCTION NO. 32:

       Microsoft incorporates by reference and reasserts its General Objections to Plaintiffs’

“Definitions” set forth above. Microsoft objects to this Request as vague and ambiguous as it

references complaints or instances described in Request Nos. 22 through 24 in which no

complaints or instances are described. Microsoft will assume that this Request is referring to

complaints or instances described in Request Nos. 28 through 31. Microsoft further objects to this

Request as cumulative and duplicative of Request Nos. 30 and 31 and incorporates its response to

those Requests as if fully set forth herein.

       Subject to these objections and the objections and scope of Microsoft’s responses to

Requests Nos. 28 through 31, Microsoft responds as follows: Microsoft will conduct a reasonable




                                                  28
 Case 1:23-cv-08292-SHS-OTW              Document 169-2       Filed 07/22/24     Page 30 of 39




search and produce responsive, nonprivileged documents pertaining to Microsoft’s responses to

complaints or instances described in Request Nos. 28 through 31 to the extent such documents

exist. This production will be made on a rolling basis and will be substantially complete by June

14, 2024.

REQUEST FOR PRODUCTION NO. 33:

          DOCUMENTS and COMMUNICATIONS exchanged between YOU and OPENAI

CONCERNING the use of purportedly copyrighted material in training CHATGPT.

RESPONSE TO REQUEST FOR PRODUCTION NO. 33:

          Microsoft incorporates by reference and reasserts its General Objections to Plaintiffs’

“Definitions” set forth above. Microsoft objects to this Request for “Communications” and states

that any email communications will only be produced pursuant to the custodial discovery

provisions of the ESI Order to be entered in these Actions. Microsoft also objects to this Request

to the extent it assumes that Microsoft trained or otherwise developed OpenAI’s models or

applications identified in the Amended Complaints. Microsoft did not train ChatGPT, does not

possess the training datasets OpenAI used to train ChatGPT, and is unaware of the contents of the

training datasets used by OpenAI to train ChatGPT. Microsoft also objects to this Request as

duplicative of Request No. 30, and incorporates its response to that Request as if fully set forth

herein.

          Subject to these objections, Microsoft responds as follows: Microsoft will conduct a

reasonable search and produce responsive, nonprivileged communications between Microsoft and

OpenAI pertaining to the use of purportedly copyrighted material in training ChatGPT to the extent

such communications exist. This production will be made on a rolling basis and will be

substantially complete by June 14, 2024.




                                                29
 Case 1:23-cv-08292-SHS-OTW              Document 169-2         Filed 07/22/24      Page 31 of 39




REQUEST FOR PRODUCTION NO. 34:

       DOCUMENTS sufficient to identify the aspects of YOUR corporate structure as relevant

to YOUR investment in, involvement in, and monitoring of OPENAI and to the use of

CHATPGPT at MICROSOFT. As to those discrete areas, Plaintiffs request YOUR corporate

structure, INCLUDING, but not limited to, any DOCUMENTS identifying parent companies,

divisions, subsidiaries, affiliates, trade names, fictitious entities, holding companies, related

business entities and/or current directors and officers, as it existed at any time during the Relevant

Time Period.

RESPONSE TO REQUEST FOR PRODUCTION NO. 34:

       Microsoft incorporates by reference and reasserts its General Objections to Plaintiffs’

“Definitions” set forth above. Microsoft objects to this Request as vague and ambiguous with

respect to “use of ChatGPT at Microsoft” because it requires speculation as to the scope and

meaning of this Request. Microsoft further objects to the phrase “use of ChatGPT at Microsoft”

because it is overbroad and unduly burdensome, and could be interpreted to require Microsoft to

investigate whether and to what extent its more than 200,000 employees used the service.

       Subject to these objections, Microsoft responds as follows: Microsoft will conduct a

reasonable search and produce responsive, nonprivileged documents sufficient to identify the

aspects of Microsoft’s corporate structure that are relevant to Microsoft’s investment in and

monitoring of OpenAI, if any, to the extent such documents exist. This production will be made

on a rolling basis and will be substantially complete by June 14, 2024.

REQUEST FOR PRODUCTION NO. 35:

       DOCUMENTS sufficient to identify YOUR current and former officers, directors,

managers, employees and consultants with knowledge of CHATGPT, business practices regarding




                                                 30
 Case 1:23-cv-08292-SHS-OTW             Document 169-2         Filed 07/22/24     Page 32 of 39




the same, and commercial use of CHATGPT.

RESPONSE TO REQUEST FOR PRODUCTION NO. 35:

       Microsoft incorporates by reference and reasserts its General Objections to Plaintiffs’

“Definitions” set forth above. Microsoft objects to this request as overly broad and unduly

burdensome, and therefore not proportional to the needs of the case, because it seeks the

identification of Microsoft personnel with knowledge of ChatGPT, business practices regarding

the same, and commercial use of ChatGPT without regard to whether such persons were involved

to a degree in which they may possess information that is relevant to these Actions. This Request

could be interpreted to require Microsoft to investigate whether and to what extent its more than

200,000 employees as well as consultants and others used the ChatGPT service.

       Subject to these objections, Microsoft responds as follows: Microsoft will not currently be

producing documents responsive to this Request but is willing to meet and confer regarding the

scope of this Request.

REQUEST FOR PRODUCTION NO. 36:

       DOCUMENTS sufficient to show the roles and responsibilities of and/or supervisory

relationship between YOUR current and former officers, directors, managers, employees and

consultants and CHATGPT, business practices regarding the same, and commercial use of

regarding the same.

RESPONSE TO REQUEST FOR PRODUCTION NO. 36:

       Microsoft incorporates by reference and reasserts its General Objections to Plaintiffs’

“Definitions” set forth above. Microsoft objects to this Request to the extent is seeks confidential

and private information of Microsoft personnel that is minimally relevant to any party’s claim or

defense and therefore not proportional to the needs of the case. This Request could be interpreted




                                                31
 Case 1:23-cv-08292-SHS-OTW             Document 169-2        Filed 07/22/24      Page 33 of 39




to require Microsoft to investigate whether and to what extent its more than 200,000 employees as

well as consultants and others used the ChatGPT service.

       Subject to these objections, Microsoft responds as follows: Microsoft will not currently be

producing documents responsive to this Request but is willing to meet and confer regarding the

scope of this Request.

REQUEST FOR PRODUCTION NO. 37:

       DOCUMENTS and COMMUNICATIONS RELATED TO the hiring of OPENAI CEO

Sam Altman on or around November 20, 2023, INCLUDING the roles and responsibilities to

which YOU and Mr. Altman agreed.

RESPONSE TO REQUEST FOR PRODUCTION NO. 37:

       Microsoft incorporates by reference and reasserts its General Objections to Plaintiffs’

“Definitions” set forth above. Microsoft objects to this Request for “Communications” and states

that any email communications will only be produced pursuant to the custodial discovery

provisions of the ESI Order to be entered in these Actions. Microsoft also objects to this Request

as irrelevant, or minimally relevant, to any party’s claim or defense and overly broad and unduly

burdensome, and therefore not proportional to the needs of the case because the short-lived hiring,

if any, of OpenAI CEO Sam Altman by Microsoft has no relevance, on its own, to any claim or

defense in a case involving copyright infringement claims.

       Subject to these objections, Microsoft responds as follows: Microsoft will not produce

documents responsive to this Request. This does not limit or alter the scope of documents to be

produced in response to any other Request; that is, to the extent a document is responsive to this

Request and to another Request for which Microsoft has stated it will produce documents, the

document will be produced.




                                                32
 Case 1:23-cv-08292-SHS-OTW             Document 169-2         Filed 07/22/24     Page 34 of 39




REQUEST FOR PRODUCTION NO. 38:

       DOCUMENTS and COMMUNICATIONS RELATED TO the hiring of OPENAI

employees other than OPENAI CEO Sam Altman in November 2023, INCLUDING the roles and

responsibilities to which said employees had agreed.

RESPONSE TO REQUEST FOR PRODUCTION NO. 38:

       Microsoft incorporates by reference and reasserts its General Objections to Plaintiffs’

“Definitions” set forth above. Microsoft objects to this Request for “Communications” and states

that any email communications will only be produced pursuant to the custodial discovery

provisions of the ESI Order to be entered in these Actions. Microsoft also objects to this Request

as seeking information not relevant to any claim or defense in this Action because any OpenAI

employees hired by Microsoft are not parties to this Action. Microsoft objects to this Request to

the extent is seeks confidential and private information of Microsoft personnel that is minimally

relevant to any party’s claim or defense and therefore not proportional to the needs of the case.

Microsoft further objects to this Request as irrelevant, or minimally relevant, to any party’s claim

or defense and overly broad and unduly burdensome, and therefore not proportional to the needs

of the case because the bare fact of hiring of OpenAI employees, if any, has no relevance, on its

own, to any claim or defense in a case involving copyright infringement claims.

       Subject to these objections, Microsoft responds as follows: Microsoft will not produce

documents responsive to this Request. This does not limit or alter the scope of documents to be

produced in response to any other Request; that is, to the extent a document is responsive to this

Request and to another Request for which Microsoft has stated it will produce documents, the

document will be produced.




                                                33
 Case 1:23-cv-08292-SHS-OTW              Document 169-2        Filed 07/22/24      Page 35 of 39




REQUEST FOR PRODUCTION NO. 39:

       DOCUMENTS and COMMUNICATIONS sufficient to identify any efforts to mitigate

and/or remedy instances in which YOU purportedly used copyrighted material without permission

in training CHATGPT.

RESPONSE TO REQUEST FOR PRODUCTION NO. 39:

       Microsoft incorporates by reference and reasserts its General Objections to Plaintiffs’

“Definitions” set forth above. Microsoft objects to this Request for “Communications” and states

that any email communications will only be produced pursuant to the custodial discovery

provisions of the ESI Order to be entered in these Actions. Microsoft also objects to this Request

to the extent it assumes that Microsoft trained or otherwise developed OpenAI’s models or

applications identified in the Consolidated Complaint. Microsoft did not train ChatGPT, does not

possess the training datasets OpenAI used to train ChatGPT, and is unaware of the contents of the

training datasets used by OpenAI to train ChatGPT.

       Subject to these objections, Microsoft states that based on its reasonable investigation to

date, it is not aware of the existence of any documents in Microsoft’s possession, custody or control

that pertain to any efforts to mitigate and/or remedy instances in which Microsoft purportedly used

copyrighted material without permission in training ChatGPT because Microsoft did not train

ChatGPT.

REQUEST FOR PRODUCTION NO. 40:

       DOCUMENTS and COMMUNICATIONS sufficient to show any deals, contracts,

agreements, negotiations, memoranda of understanding, or deal points, whether finalized or not,

whether accepted or not, in executed, draft form, or otherwise, CONCERNING the licensing or

purchase of data, INCLUDING data derived from or about books, to train CHATGPT.




                                                 34
 Case 1:23-cv-08292-SHS-OTW             Document 169-2         Filed 07/22/24     Page 36 of 39




RESPONSE TO REQUEST FOR PRODUCTION NO. 40:

       Microsoft incorporates by reference and reasserts its General Objections to Plaintiffs’

“Definitions” set forth above. Microsoft objects to this Request for “Communications” and states

that any email communications will only be produced pursuant to the custodial discovery

provisions of the ESI Order to be entered in these Actions. Microsoft also objects to this Request

to the extent it assumes that Microsoft trained or otherwise developed OpenAI’s models or

applications identified in the Consolidated Complaint. Microsoft did not train ChatGPT, does not

possess the training datasets OpenAI used to train ChatGPT, and is unaware of the contents of the

training datasets used by OpenAI to train ChatGPT.

       Subject to these objections, Microsoft responds as follows: Microsoft states that based on

its reasonable investigation to date, it is not aware of any documents responsive to this Request as

worded that are in Microsoft’s possession, custody, or control because Microsoft did not train

ChatGPT.

Dated: February 23, 2024                      Respectfully submitted,

                                              /s/ Annette L. Hurst
                                              Annette L. Hurst (Admitted Pro Hac Vice)
                                              ORRICK, HERRINGTON & SUTCLIFFE LLP
                                              The Orrick Building
                                              405 Howard Street
                                              San Francisco, CA 94105-2669
                                              Telephone: (415) 773-5700
                                              Facsimile: (415) 773-5759
                                              Email: ahurst@orrick.com

                                              Christopher Cariello
                                              Marc Shapiro
                                              51 West 52nd Street
                                              New York, NY 10019
                                              Telephone: (212) 506-3778
                                              Facsimile: (212) 506-5151
                                              Email: ccariello@orrick.com
                                                     mrshapiro@orrick.com



                                                35
Case 1:23-cv-08292-SHS-OTW   Document 169-2     Filed 07/22/24    Page 37 of 39




                                 Jeffrey S. Jacobson
                                 FAEGRE DRINKER BIDDLE & REATH LLP
                                 1177 Avenue of the Americas, 41st Floor
                                 New York, New York 10036
                                 Telephone: (212) 248-3140
                                 Facsimile: (212) 248-3141
                                 Email: jeffrey.jacobson@faegredrinker.com

                                 Attorneys for Defendant Microsoft Corporation




                                   36
Case 1:23-cv-08292-SHS-OTW             Document 169-2       Filed 07/22/24   Page 38 of 39




                    PROOF OF SERVICE VIA ELECTRONIC MAIL

        On February 23, 2024, per the parties’ agreements, I directed DEFENDANT
MICROSOFT CORPORATION’S RESPONSES AND OBJECTIONS TO PLAINTIFFS’
FIRST SET OF REQUESTS FOR PRODUCTION OF DOCUMENTS to be served via
electronic mail upon:

Rachel Geman                                      Scott J. Sholder CeCe M. Cole
LIEFF CABRASER HEIMANN &                          COWAN DEBAETS ABRAHAMS &
BERNSTEIN, LLP                                    SHEPPARD LLP
250 Hudson Street, 8th Floor                      41 Madison Avenue, 38th Floor
New York, NY 10013-1413                           New York, New York 10010
Telephone: 212.355.9500                           Telephone: 212.974.7474
ergeman@lchb.com                                  ssholder@cdas.com; ccole@cdas.com

Reilly T. Stoler                                  Allison Levine Stillman
Wesley Dozier                                     LATHAM & WATKINS LLP
LIEFF CABRASER HEIMANN &                          1271 Avenue of the Americas
BERNSTEIN, LLP                                    New York, NY 10020
275 Battery Street, 29th Floor                    Telephone: 212-906-1200
San Francisco, CA 94111-3339                      alli.stillman@lw.com
Telephone: 415.956.1000
rstoler@lchb.com; wdozier@lchb.com

Justin A. Nelson                                  Andrew Gass
Alejandra C. Salinas                              Joseph Richard Wetzel, Jr.
SUSMAN GODFREY L.L.P.                             LATHAM & WATKINS, LLP
1000 Louisiana Street, Suite 5100                 505 Montgomery Street, Suite 2000
Houston, TX 77002                                 San Francisco, CA 94111
Telephone: 713-651-9366                           Telephone: 415-391-0600
jnelson@susmangodfrey.com                         andrew.gass@lw.com
asalinas@susmangodfrey.com                        joe.wetzel@lw.com

Rohit D. Nath                                     Joseph C. Gratz
SUSMAN GODFREY L.L.P.                             MORRISON & FOERSTER LLP
1900 Avenue of the Stars, Suite 1400              425 Market Street
Los Angeles, California 90067                     San Francisco, CA 94105
Telephone: 310-789-3100                           Telephone: 415-268-7000
rnath@susmangodfrey.com                           jgratz@mofo.com

J. Craig Smyser                                   Sarang Damle
SUSMAN GODFREY L.L.P.                             LATHAM & WATKINS LLP
1901 Avenue of the Americas, 32nd Floor           555 Eleventh Street NW, Suite 1000
New York, New York 10019                          Washington, DC 20004
Telephone: 212-336-8330                           Telephone: 202-637-2200
csmyser@susmangodfrey.com                         sy.damle@lw.com



                                             37
Case 1:23-cv-08292-SHS-OTW     Document 169-2    Filed 07/22/24   Page 39 of 39




Michael Philip Richter
GRANT HERRMAN SCHWARTZ &
KLINGER LLP
107 Greenwich Street, 25th Floor
New York, NY 10006
Telephone: 212-682-1800
mrichter@ghsklaw.com




                                                Linda Sowell




                                     38
